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700        CONTINUING ELIGIBILITY REQUIREMENTS
                                   To continue as an approved Seller or Seller/Servicer, each Seller must remain in
                                   compliance with all provisions of this Seller's Guide, the Purchase Agreement, and as
                                   applicable, the Servicing Agreement, the Custodial Agreement and any other agreement
                                   by and between Purchaser and Seller. Additionally, each Seller/Servicer must maintain
                                   an acceptable claims experience with all mortgage insurers.

701        REPRESENTATIONS, WARRANTIES AND COVENANTS OF SELLER
                                   Seller acknowledges that Mortgage Loans are purchased in reliance upon: (i) the truth
                                   and accuracy of Seller’s representations and warranties set forth in the Loan Purchase
                                   Agreement and this Seller’s Guide, each of which representations and warranties relates
                                   to a matter material to such purchase; and (ii) Seller’s compliance with each of the
                                   agreements, requirements, terms, covenants and conditions set forth in the Loan
                                   Purchase Agreement and this Seller’s Guide. Seller makes the representations,
                                   warranties, and covenants set forth in this Section as of the date of the Loan Purchase
                                   Agreement and remakes them as of each Purchase Date, unless the representation or
                                   warranty provides otherwise. Making such representations, warranties and covenants
                                   does not release Seller from its obligations under any representations, warranties or
                                   covenants contained in other sections of this Seller’s Guide, including the exhibits hereto,
                                   or in the Loan Purchase Agreement. It is expressly understood and agreed that
                                   Purchaser’s rights in connection with Seller’s representations, warranties and covenants
                                   survive the Purchase Date of any particular Mortgage Loan and any termination of the
                                   Loan Purchase Agreement, and are not affected by any investigation or review made by,
                                   or on behalf of, Purchaser, except to the extent expressly waived in writing by Purchaser.

                                   In addition to Purchaser’s right to assign its rights and duties under the Loan Purchase
                                   Agreement and the Seller’s Guide, Seller agrees that Purchaser separately may assign
                                   to any other party any or all representations, warranties or covenants made by Seller to
                                   Purchaser in the Seller’s Guide and Loan Purchase Agreement, along with any or all of
                                   the remedies available against Seller for Seller’s breach of any representation, warranty
                                   or covenant, including, without limitation, the repurchase and indemnification remedies.
                                   Any such party shall be an intended third party beneficiary of these representations,
                                   warranties, covenants and remedies.

702        CONCERNING SELLER AND GUARANTOR
                                   In addition to the representations, warranties and covenants set forth elsewhere in this
                                   Seller’s Guide, Seller represents and warrants as of the respective dates of the Loan
                                   Purchase Agreement and as of each Purchase Date, and covenants that:

                                   1. Due Organization; Good Standing; Licensing. Seller and to Seller’s knowledge,
                                      Seller’s Guarantor, if applicable, is and shall continue to be duly organized, validly
                                      existing, and in good standing under the laws of the United States or under the laws
                                      of the jurisdiction in which it was incorporated or organized, as applicable, and has
                                      and shall continue to maintain licenses, registrations and certifications necessary to
                                      carry on its business as now being conducted, and is and will continue to be
                                      licensed, qualified and in good standing in each state where a Mortgaged Property is
                                      located if the laws of such state require licensing or qualification in order to conduct
                                      business of the type conducted by Seller, and, in any event, Seller is and will remain




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                                         in compliance with the laws of any such state, and is and will remain in good
                                         standing with federal authorities to the extent necessary to ensure the enforceability
                                         of the related Mortgage Loan. Seller has disclosed the final written reports, actions
                                         and/or sanctions of any and all reviews, investigations, examinations, audits, actions
                                         and/or sanctions that have been undertaken and/or imposed within two (2) years
                                         prior to the date of the Loan Purchase Agreement by any federal or state agency or
                                         instrumentality with respect to either the lending-related financial operations of Seller,
                                         or the ability of Seller to perform in accordance with the terms hereof. Except as may
                                         have been disclosed to and approved by Purchaser in writing, Seller is not operating
                                         under any type of agreement or order (including, without limitation, a supervisory
                                         agreement, memorandum of understanding, cease and desist order, capital directive,
                                         supervisory directive and consent decree) with or by the Office of Thrift Supervision,
                                         Federal Deposit Insurance Corporation Federal Reserve Board, Office of the
                                         Comptroller of the Currency, or any state banking department or other government
                                         banking agency, and Seller is in compliance with any and all capital, leverage or
                                         other financial standards imposed by any applicable regulatory authority. Each of the
                                         representations and warranties made by Seller is true, accurate and complete, and is
                                         deemed to be remade in its entirety as of the date of the Loan Purchase Agreement
                                         executed by Seller and as of each Purchase Date.

                                   2. Authority. Seller has and will maintain the full corporate, limited liability company or
                                      partnership (as the case may be) power and authority to execute and deliver the
                                      Loan Purchase Agreement and to perform in accordance with each of the terms
                                      thereof and the terms of this Seller’s Guide; the execution, delivery and performance
                                      of the Loan Purchase Agreement and the performance of the terms of this Seller’s
                                      Guide (including, without limitation, all instruments of transfer to be delivered under
                                      the terms of the Loan Purchase Agreement) by Seller, and the consummation of the
                                      transactions contemplated thereby and hereby, have been duly and validly
                                      authorized; the Loan Purchase Agreement and the Seller’s Guide evidence the legal
                                      valid, binding and enforceable obligations of Seller; except as such enforcement may
                                      be limited by bankruptcy, insolvency, reorganization, receivership, moratorium or
                                      other laws relating to or affecting the rights of creditors generally, and by general
                                      equity principles, and all requisite corporate, limited liability company or partnership
                                      (as the case may be) action has been taken by Seller to make the Loan Purchase
                                      Agreement and the terms of this Seller’s Guide valid and binding upon Seller, and
                                      enforceable in accordance with their respective terms.

                                   3. Ordinary Course of Business.               The consummation of the transactions
                                      contemplated by the Loan Purchase Agreement and the terms of this Seller’s Guide
                                      are in the ordinary course of business of Seller, and the transfer, assignment and
                                      conveyance of the Mortgage Loans by Seller pursuant to the Loan Purchase
                                      Agreement and the terms of this Seller’s Guide are not subject to the bulk transfer
                                      laws or any similar statutory provision in effect in any applicable jurisdiction.

                                   4. No Conflicts. Neither the execution and delivery of the Loan Purchase Agreement,
                                      the acquisition and/or making of the Mortgage Loans by Seller, the sale of the
                                      Mortgage Loans to Purchaser or the transactions contemplated thereby or pursuant
                                      to this Seller’s Guide, nor the fulfillment of or compliance with the terms and
                                      conditions of the Loan Purchase Agreement, will conflict with or result in a breach of




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                                         any of the terms, conditions or provisions of Seller’s articles of incorporation, charter,
                                         by-laws, partnership agreement, operating agreement or other organizational
                                         document (as the case may be), or of any legal restriction or regulatory directive or
                                         any agreement or instrument to which Seller is now a party or by which it is bound, or
                                         constitute a default or result in any acceleration under any of the foregoing, or result
                                         in the violation of any law, rule, regulation, order, judgment, or decree to which Seller
                                         or any of its property is subject, or impair the ability of Purchaser to realize on any of
                                         the Mortgage Loans, or impair the value of any of the Mortgage Loans.

                                   5. Ability to Perform. Seller has the ability to perform each and every obligation of,
                                      and/or satisfy each and every requirement imposed on Seller pursuant to the Loan
                                      Purchase Agreement and this Seller’s Guide, and no offset, counterclaim or defense
                                      exists to the full performance by Seller of the requirements of the Loan Purchase
                                      Agreement and this Seller’s Guide.

                                   6. No Litigation Pending. There is no action, suit, proceeding, inquiry, review, audit or
                                      investigation pending or, to Seller’s knowledge, threatened by or against Seller that,
                                      either in any one instance or in the aggregate, may result in any material adverse
                                      change in the business, operations, financial condition, properties or assets of Seller,
                                      or in any material liability on the part of Seller, or which would draw into question the
                                      validity or enforceability of any of the Loan Purchase Agreement, this Seller’s Guide,
                                      or the Mortgage Loans or of any action taken or to be taken in connection with the
                                      obligations of Seller contemplated in the Loan Purchase Agreement or this Seller’s
                                      Guide, or which would be likely to impair materially the ability of Seller to perform
                                      under the terms of the Loan Purchase Agreement or this Seller’s Guide.

                                   7. No Consent Required. No consent, approval, authority or order of any court or
                                      governmental agency or body is required for the execution and performance by
                                      Seller of, or compliance by Seller with, the Loan Purchase Agreement or this Seller’s
                                      Guide, the sale of any of the Mortgage Loans, or the consummation of any of the
                                      transactions contemplated by the Loan Purchase Agreement, or, if required, such
                                      unconditional approval has been obtained prior to the related Purchase Date.

                                   8. No Untrue Information. Neither the Seller Application Package, the Loan Purchase
                                      Agreement, nor any statement, report or other document furnished or to be furnished
                                      by Seller or Seller’s correspondent pursuant to the Loan Purchase Agreement or this
                                      Seller’s Guide, contains any untrue statement of material fact or omits to state a
                                      material fact necessary to make the statements contained therein not misleading.
                                      Seller meets the Eligibility Standards and shall take all steps necessary to continue
                                      to meet such Eligibility Standards.

                                   9. Securities Law. Purchaser has made no representation whatsoever to Seller
                                      concerning the applicability or inapplicability of the Security Act of 1933, as amended
                                      (the “1933 Act”) or of any state securities laws (each, a “State Act”) to the
                                      transactions that are the subject of this Seller’s Guide. Seller hereby represents and
                                      warrants:

                                               a. The offer, issuance, sale and delivery of the Mortgage Loans under the
                                                  circumstances contemplated hereunder constitute exempted transactions




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                                                  under the registration provisions of the 1933 Act, and the registration of the
                                                  Mortgage Loans under the 1933 Act is not required in connection with any
                                                  such offer, issuance, sale or delivery of the Mortgage Loans; and
                                               b. The offer, issuance, sale and delivery of the Mortgage Loans under the
                                                  circumstances contemplated hereunder constitute exempted transactions
                                                  under applicable state acts, and neither the registration or qualification of the
                                                  Mortgage Loans under such state acts nor the authorization, approval, or
                                                  consent of any governmental authority or agency is required or necessary in
                                                  connection with any such offer, issuance, sale or delivery of the Mortgage
                                                  Loans.

                                   10. No Accrued Liabilities. Except as may be otherwise disclosed by Seller and
                                       acknowledged by Purchaser in writing prior to the date of the Loan Purchase
                                       Agreement, there are no accrued liabilities of Seller with respect to any of the
                                       Mortgage Loans, or circumstances under which any such accrued liabilities will arise
                                       against Purchaser, as successor to Seller’s interests in and to the Mortgage Loans,
                                       with respect to any action or failure to act by Seller occurring on or prior to the
                                       Purchase Date.

                                   11. Origination, Servicing. The origination and servicing of the Mortgage Loans by
                                       Seller have been legal, proper, prudent and customary and have conformed to
                                       customary standards of the residential mortgage origination and servicing business.

                                   12. Compliance with Laws. Seller has complied with, and has not violated any law,
                                       ordinance, requirement, regulation, rule or order applicable to its business or
                                       properties, the violation of which might adversely affect the operations or financial
                                       conditions of Seller or the ability of Seller to consummate the transactions
                                       contemplated by the Loan Purchase Agreement and this Seller’s Guide.

                                   13. Compliance with Loan Purchase Agreement and Seller’s Guide. Seller will
                                       comply with all provisions of this Seller’s Guide and the Loan Purchase Agreement,
                                       and will promptly notify Purchaser of any occurrence, act or omission regarding
                                       Seller, the Mortgage Loan, the Mortgaged Property or the Mortgagor of which Seller
                                       has knowledge, which occurrence, act or omission may materially affect Seller, the
                                       Mortgage Loan, the Mortgaged Property or the Mortgagor.

                                   14. Standards and Procedures. The origination practices utilized by Seller with respect
                                       to the Mortgage Loans have been legal, proper, prudent and customary for mortgage
                                       loans of a type and credit quality similar to the Mortgage Loans and Seller maintains
                                       (i) a staff that is experienced and trained in the proper origination of mortgage loans
                                       of a type and credit quality similar to the Mortgage Loans, and (ii) operating
                                       procedures, including refined risk assessment strategies beyond simple credit risk
                                       analysis, that are prudent and customary in the origination of mortgage loans of a
                                       type and credit quality similar to the Mortgage Loans.

                                   15. No Brokers or Finders. Seller has not in connection with any Mortgage Loan
                                       incurred any obligation, made any commitment or taken any action that might result
                                       in a claim against Purchaser or an obligation by Purchaser to pay a sales brokerage
                                       commission, finder's fee or similar fee in respect to the transactions between




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                                         Purchaser and Seller as described in this Seller’s Guide or the Loan Purchase
                                         Agreement.

                                   16. No Insolvency, etc. Seller has not transferred any Mortgage Loan to Purchaser with
                                       any intent to hinder, delay or defraud any of Seller's creditors. Seller is not insolvent
                                       and the sale of the Mortgage Loans will not cause Seller to become insolvent. The
                                       consideration received by Seller upon the sale of the Mortgage Loans under this
                                       Seller’s Guide and the Loan Purchase Agreement constitutes fair consideration and
                                       reasonably equivalent value for the Mortgage Loans.

703        CONCERNING INDIVIDUAL MORTGAGE LOANS
                                   In addition to the representations, warranties and covenants set forth elsewhere in this
                                   Seller’s Guide or the Loan Purchase Agreement, as to each Mortgage Loan, Seller
                                   represents and warrants as of the related Purchase Date, and covenants that:

                                   1. Mortgage Loans as Described. No document, report or material furnished to
                                      Purchaser in any Mortgage Loan File or related to any Mortgage Loan (including,
                                      without limitation, the Mortgagor’s application for the Mortgage Loan executed by the
                                      Mortgagor), was falsified or contains any untrue statement of fact or omits to state a
                                      fact necessary to make the statements contained therein not misleading.

                                   2. Payments Current. All payments required to be made through the related Purchase
                                      Date for the Mortgage Loan under the terms of the Note have been made and
                                      credited. No payment required under the Mortgage Loan is delinquent and no
                                      payment under the Mortgage Loan has been delinquent at any time since the
                                      origination of the Mortgage Loan. For the purpose of this paragraph, a payment
                                      under a Mortgage Loan will be deemed delinquent if that payment due was not paid
                                      by the Mortgagor prior to the date that the next payment was due under the Mortgage
                                      Loan. The Mortgage Loan has not at any time been modified, renewed or extended
                                      for the purpose of concealing the delinquency of the Mortgagor.

                                   3. No Outstanding Charges. There has been no default under the terms of the
                                      Mortgage, and any and all taxes, including, without limitation, any and all transfer
                                      taxes due and payable to any state or municipality relating to the transfer of the
                                      ownership and occupancy interest in the Mortgaged Property, and all governmental
                                      assessments, insurance premiums, water, sewer and municipal charges, leasehold
                                      payments and/or ground rents that previously became due and owing have been
                                      paid, or an escrow of funds has been established in an amount sufficient to pay for
                                      every such item that remains unpaid and that has been assessed but is not yet due
                                      and payable.

                                   4. No Advances. Except as has been clearly and conspicuously disclosed in writing to
                                      and approved by Purchaser prior to the Purchase Date: (i) Seller has not advanced
                                      funds, or induced, solicited or knowingly received any advance of funds by a party
                                      other than the Mortgagor, directly or indirectly, for the payment of any amount
                                      required under the Mortgage Loan, except for interest accruing from the date of the
                                      Note or date of disbursement of the Mortgage Loan proceeds, whichever is greater,
                                      to the day that precedes by one (1) month the due date of the first installment of
                                      principal and interest; and (ii) the Mortgagor has, in compliance with the Underwriting




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                                         Guidelines, made any down payment required in connection with the Mortgage Loan,
                                         and has received no concession from Seller, any correspondent, the seller of the
                                         Mortgaged Property, or any other third party.

                                   5. Original Terms Unmodified. The original terms of the Note and the Mortgage have
                                      not been impaired, waived, altered, or modified in any respect, except by a written
                                      instrument that Purchaser has approved and has been recorded, if necessary, to
                                      protect the interest of Purchaser and which has been delivered to Purchaser with the
                                      Mortgage Loan documents; the substance of any such waiver, alteration or
                                      modification has been approved by the issuer of any related PMI Policy and the title
                                      insurer, to the extent required by the respective policies. No Mortgagor has been
                                      released, in whole or in part.

                                   6. No Defense. The Mortgage Loan is not subject to any unexpired right of rescission,
                                      set-off, counterclaim or defense, including, without limitation, the defense of usury.
                                      The operation of any of the terms of the Note or the Mortgage, or the exercise of any
                                      right thereunder will not render either the Note or the Mortgage unenforceable, in
                                      whole or in part, or subject to any right of rescission, cancellation, set-off,
                                      counterclaim, or defense, including without limitation, the defense of usury, and no
                                      such right of rescission, cancellation, set-off, counterclaim or defense has been
                                      asserted with respect thereto. No Mortgagor was a debtor in any state or federal
                                      bankruptcy or insolvency proceeding at the time the Mortgage Loan was originated.

                                   7. Hazard and Flood Insurance. Pursuant to the terms of the Mortgage, all buildings
                                      and improvements upon the Mortgaged Property are insured by an insurer
                                      acceptable to Purchaser against loss by fire, hazards of extended coverage and such
                                      other hazards as are customarily insured against in the area where each Mortgaged
                                      Property is located in an amount which is at least equal to the lesser of: (a) the
                                      outstanding principal balance of the applicable Mortgage Loan or if identified as a
                                      second lien mortgage, the total of the outstanding principal balance of the Mortgage
                                      Loan and any first lien loan affecting the Mortgaged Property; (b) the full replacement
                                      value of the Mortgaged Property, or (c) in the case of flood insurance, the maximum
                                      amount of insurance which is available under the Flood Disaster Protection Act of
                                      1973. If the Mortgaged Property is in an area identified in the Federal Register by
                                      the Federal Emergency Management Agency as having special flood hazards and in
                                      which flood insurance has been made available, a flood insurance policy meeting the
                                      requirements of the current guidelines of the Flood Insurance Administration is in
                                      effect with an insurance carrier acceptable to Purchaser. All individual insurance
                                      policies contain a standard mortgagee clause naming the Seller and its successors
                                      and assigns as mortgagee, and all premiums thereon have been paid. The
                                      Mortgage obligates the Mortgagor thereunder to maintain the individual insurance
                                      policies at the Mortgagor’s cost and expense, and upon the Mortgagor’s failure to do
                                      so, authorizes the holder of the Mortgage to obtain and maintain such insurance at
                                      the Mortgagor’s cost and expense, and to seek reimbursement therefor from the
                                      Mortgagor. The amount of insurance is sufficient to prevent the application of any
                                      co-insurance contribution on any loss. The hazard insurance policy is the valid and
                                      binding obligation of the insurer, is in full force and effect, and will be in full force and
                                      effect and inure to the benefit of Purchaser upon the consummation of the
                                      transactions contemplated by the Loan Purchase Agreement. Seller has not




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                                         engaged in, and has no knowledge of the Mortgagor having engaged in, any act or
                                         omission that would impair the coverage of any such policy, the benefits of the
                                         endorsement provided for herein, or the validity and binding effect of either including
                                         without limitation, no unlawful fee, commission, kickback or other unlawful
                                         compensation or value of any kind has been or will be received, retained or realized
                                         by any attorney, firm or other person or entity, and no such unlawful items have been
                                         received, retained or realized by the Seller. Where required by state law or
                                         regulation, the Mortgagor has been given an opportunity to choose the carrier of the
                                         required hazard insurance, provided the policy is not a “master” or “blanket” hazard
                                         insurance policy covering the common facilities of a planned unit development.
                                         Guaranteed initial flood zone determination documentation is included in each
                                         Mortgage Loan file delivered to Purchaser for Purchase.

                                   8. Origination, Underwriting and Servicing Compliance. Seller, and, to the extent
                                      the Mortgage Loan was originated by, closed in the name of, or serviced by a
                                      correspondent, such correspondent, has duly and faithfully complied with and will
                                      continue to comply with: (i) all applicable laws, rules, regulations, decrees,
                                      pronouncements, directives, orders and contractual requirements with respect to the
                                      origination, closing, underwriting, processing and servicing of each Mortgage Loan;
                                      and (ii) any and all other applicable federal, state, county, municipal, or other local
                                      laws, including, without limitation, those laws relating to truth-in-lending, real estate
                                      settlement procedures, consumer credit protection, usury limitations, fair housing,
                                      equal credit opportunity, collection practices, money laundering and real estate
                                      appraisals.

                                   9. No Satisfaction of Mortgage. The Mortgage has not been satisfied, canceled,
                                      subordinated, or rescinded in whole or in part, and the Mortgaged Property has not
                                      been released, in whole or in part, from the lien of the Mortgage, and no instrument
                                      has been executed that would affect any such release, cancellation, subordination or
                                      rescission. The Seller has not waived the performance by the Mortgagor of any
                                      action, if the Mortgagor’s failure to perform such action would cause the Mortgage
                                      Loan to be in default, nor has the Seller waived any default resulting from any action
                                      or inaction by the Mortgagor.

                                   10. Location and Type of Mortgaged Property. The Mortgaged Property is a fee
                                       simple or acceptable leasehold property located in the state identified in the
                                       Mortgage Loan File and unless otherwise provided for in the Loan Purchase
                                       Agreement, consists of a single parcel of real property with a single family residence
                                       erected thereon or a two-to-four family dwelling or an individual unit in a planned unit
                                       development or Condominium Project, provided, however, that any condominium or
                                       planned unit development shall conform with applicable requirements outlined in this
                                       Seller’s Guide; no Mortgaged Property is a mobile home or a boat. No portion of the
                                       Mortgaged Property is used for commercial purposes in such a manner that the
                                       Mortgaged Property would be considered commercial rather than residential property
                                       by knowledgeable and sophisticated investors active in the residential secondary
                                       mortgage market.

                                   11. Valid Lien. The Mortgage is a valid, existing, and enforceable lien on the Mortgaged
                                       Property, and on all buildings on the Mortgaged Property, and on all installations and




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                                         mechanical, electrical, plumbing, heating, and air conditioning systems located in or
                                         affixed to such buildings, and on all additions, alterations, and replacements made at
                                         any time with respect to the foregoing in the lien position identified by Seller and in
                                         accordance with the appropriate Program Profile. The lien of the Mortgage is subject
                                         only to:

                                         a. The lien of current real property taxes and assessments not yet due and payable;
                                         b. Covenants, conditions, restrictions, rights of way, easements and other matters
                                            of the public record as of the date of recording acceptable to mortgage lending
                                            institutions generally and specifically referred to in the Title Report delivered to
                                            the originator of the Mortgage Loan, none of which (i) were not referred to or
                                            otherwise considered in the appraisal made for the originator of the Mortgage
                                            Loan; or (ii) adversely affects the appraised value of the Mortgaged Property set
                                            forth in such appraisal;
                                         c. Other matters to which like properties are commonly subject, which other matters
                                            do not materially interfere with the benefits of the security intended to be
                                            provided by the Mortgage, or the use, enjoyment, value, or marketability of the
                                            related Mortgaged Property; and
                                         d. If the Mortgage is identified to Purchaser by the Seller as a second lien
                                            mortgage, the lien of the first mortgage.

                                         Any security agreement, chattel mortgage or equivalent document related to and
                                         delivered in connection with the Mortgage Loan establishes and creates a valid,
                                         subsisting and enforceable lien and security interest on the property described
                                         therein in the lien position identified by Seller and in accordance with the appropriate
                                         Program Profile and Seller has full right to sell and assign the same to the Purchaser.
                                         The Mortgaged Property was not, as of the date of origination of the Mortgage Loan,
                                         subject to a mortgage, deed of trust, deed to secured debt or other security interest
                                         creating a lien subordinate to the lien of the Mortgage other than any such
                                         subordinate lien disclosed in the Underwriting Package and considered in the
                                         underwriting review of the Mortgage Loan.

                                   12. Validity of Mortgage Documents. The Note and the Mortgage are genuine, and
                                       each is a legal, valid, and binding obligation of the maker thereof, enforceable in
                                       accordance with its terms except as such enforcement may be limited by bankruptcy,
                                       insolvency, reorganization, receivership, moratorium or other laws relating to or
                                       affecting the rights of creditors generally, and by general equity principles. All parties
                                       to the Note and the Mortgage had legal capacity to enter into the Mortgage Loan and
                                       to execute and deliver the Note and the Mortgage and any other related agreement,
                                       and the Note and the Mortgage have been duly and properly executed by such
                                       parties.    The documents, instruments and agreements submitted for loan
                                       underwriting were not falsified and contain no untrue statement of material fact or
                                       omit to state a material fact required to be stated therein or necessary to make the
                                       information and statements therein not misleading. No fraud was committed in
                                       connection with the origination of the Mortgage Loan. The Seller has reviewed all of
                                       the documents constituting the Mortgage Loan File and has made such inquiries as it
                                       deems necessary to make and confirm the accuracy of the representations set forth
                                       herein.




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                                   13. Full Disbursement of Proceeds. The Mortgage Loan has been closed and, except
                                       for home equity lines of credit, the proceeds of the Mortgage Loan have been fully
                                       disbursed and there is no requirement for the future advances thereunder, and any
                                       and all requirements as to completion of any on-site or off-site improvements and as
                                       to disbursements of any escrow funds thereof have been complied with, unless
                                       otherwise provided for in the Seller’s Guide. All costs, fees and expenses incurred in
                                       making or Closing the Mortgage Loan and the recording of the Mortgage were paid,
                                       and the Mortgagor is not entitled to any refund of any amounts paid or due under the
                                       Note or Mortgage.

                                   14. Ownership of Mortgage Loans. Immediately prior to the transfer of the Mortgage
                                       Loan to Purchaser, Seller is the sole owner of record and is the holder of the
                                       Mortgage Loan. Except for the security interest of a warehouse lender, which
                                       security interest has been disclosed in writing to Purchaser, the Mortgage Loan is not
                                       assigned or pledged, and Seller has good and marketable title thereto, and has full
                                       right to transfer and sell the Mortgage Loan free and clear of any encumbrance,
                                       equity, participation interest, lien, pledge, charge, claim, security interest, right,
                                       option, assignment or servicing agreement, whatsoever (except pursuant to the Loan
                                       Purchase Agreement and this Seller’s Guide), and Seller has full right and authority
                                       (subject to no interest or participation of, or agreement with, any other party) to sell
                                       and assign each Mortgage Loan pursuant to the Loan Purchase Agreement and this
                                       Seller’s Guide.

                                   15. Doing Business. All parties that have had any interest in the Mortgage Loan,
                                       whether as mortgagee, assignee, pledgee, or otherwise, are (or during the period in
                                       which they held and disposed of such interest, were) (i) in compliance with any and
                                       all applicable requirements concerning licensing and qualifications to do business
                                       under the laws of the state wherein the Mortgaged Property is located, and (ii)
                                       organized under the laws of such state, or (iii) qualified to do business in such state,
                                       or (iv) federal savings and loan associations or national banks having principal
                                       offices in such state, or (v) not doing business in such state.

                                   16. LTV/CLTV/HCLTV; PMI Policy. The LTV/CLTV/HCLTV of each Mortgage Loan does
                                       not exceed the maximum LTV/CLTV/HCLTV permitted by the Underwriting
                                       Guidelines. All provisions of each PMI Policy have been and are being complied
                                       with, and such policy is written with a private mortgage insurance company
                                       acceptable to Purchaser, is the binding obligation of such insurer, is in full force and
                                       effect, and all premiums due thereunder have been paid. Seller, and if applicable,
                                       Seller’s correspondent, has not engaged in any act or omission, and Seller has no
                                       knowledge of an act or omission by or on behalf of the Mortgagor of any other
                                       person, which act or omission would impair the coverage or validity of any such
                                       policy. The Mortgage Loan subject to a PMI Policy obligates the Mortgagor
                                       thereunder to maintain such PMI Policy and to pay all premiums and charges in
                                       connection therewith. The Mortgage interest rate for the Mortgage Loan is net of any
                                       such insurance premiums.

                                   17. Title Insurance. Unless otherwise indicated in this Seller’s Guide, the Mortgage
                                       Loan is covered by either (i) an attorney’s opinion of title and abstract of title, or (ii) an
                                       ALTA lender’s title insurance policy or other generally acceptable form of policy of




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                                         insurance acceptable to FNMA or FHLMC or (iii) Lien Search if Cooperative Loan,
                                         issued by a title insurer acceptable to FNMA or FHLMC and qualified to do business
                                         in the jurisdiction where the Mortgaged Property is located, insuring the Seller, its
                                         successors and assigns, as to the appropriate priority lien of the Mortgage in the
                                         original principal amount of the Mortgage Loan (or to the extent that a Mortgage Note
                                         provides for negative amortization, the maximum amount of negative amortization in
                                         accordance with the Mortgage), and against any loss by reason of the invalidity or
                                         unenforceability of the lien resulting from the provisions of the Mortgage providing for
                                         adjustment in the Mortgage interest rate and monthly payment, subject only to the
                                         exceptions contained in clauses (a), (b), (c) and (d) of paragraph (11) of this Section
                                         703. Where required by state law or regulations, the Mortgagor has been given the
                                         opportunity to choose the carrier of the required title insurance. Additionally, such
                                         Title Policy affirmatively insures ingress and egress, and against encroachments by
                                         or upon the Mortgaged Property or any interests therein. Seller (or Seller’s
                                         correspondent, as the case may be) is the sole insured of the Title Policy, and such
                                         Title Policy is in full force and effect and will be in full force and effect upon the
                                         consummation of the transactions contemplated herein and in the Loan Purchase
                                         Agreement. No claims have been made under such Title Policy, the accuracy of any
                                         attorney’s opinion of title has not been disputed, and no prior holder of the Mortgage,
                                         including Seller, has done, by act or omission, anything that would impair the
                                         coverage of such Title Policy or the accuracy of such attorney’s opinion of title
                                         including without limitation, no unlawful fee, commission, kickback or other unlawful
                                         compensation or value of any kind has been or will be received, retained or realized
                                         by any attorney, firm or other person and no such unlawful item has been received,
                                         retained or realized by the Seller. The attorney’s opinion of title, if applicable, is in a
                                         form and substance acceptable to mortgage lending institutions making mortgage
                                         loans in reliance upon an attorney’s opinion of title in the state in which the
                                         Mortgaged Property is located.

                                         For any Mortgage Loan not requiring Title Insurance in accordance with this Seller’s
                                         Guide, the Seller has obtained, examined and considered the matters disclosed in a
                                         title report for the Mortgaged Property meeting the requirements of the Seller’s Guide
                                         (the “Title Report”). The Title Report was prepared and issued by a title insurer
                                         acceptable to FNMA, FHLMC or Purchaser and qualified to do business in the
                                         jurisdiction where the Mortgaged Property is located. The Seller does not have
                                         actual knowledge of any material inaccuracy in the Title Report or of any lien, claim
                                         or encumbrance affecting the Mortgaged Property that is not disclosed by the Title
                                         Report (other than the lien of the Mortgage). The Seller’s examination of the Title
                                         Report indicates that the Mortgage is a valid and perfected lien on the Mortgaged
                                         Property, is in the position identified by Seller and in accordance with the appropriate
                                         Program Profile, and is in the original principal amount of the Mortgage Loan (or to
                                         the extent that a Mortgage Note provides for negative amortization, the maximum
                                         amount of negative amortization in accordance with the Mortgage), subject only to
                                         the exceptions contained in clauses (a), (b), (c) and (d) of paragraph (11) of this
                                         Section 703.

                                   18. No Defaults. There is no default, breach, violation or event of acceleration existing
                                       under the Mortgage or the Note and, no event has occurred or condition exists that,
                                       with the passage of time or with notice and the expiration of any grace or cure period,




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                                         would constitute a default, breach, violation or event of acceleration and neither
                                         Seller nor its predecessors has waived any default, breach, violation or event of
                                         acceleration.

                                   19. No Mechanic’s Lien. There is no mechanic’s or similar lien or claim that has been
                                       filed for work, labor or material (and no rights are outstanding that are under
                                       applicable law could give rise to such a lien or claim), affecting the related Mortgaged
                                       Property, which is or may be a lien prior to, or equal with, the lien of the related
                                       Mortgage.

                                   20. Location of Improvements; No Encroachments. All improvements which are
                                       considered in determining the appraised value of the Mortgaged Property at
                                       origination lie wholly within the boundaries and building restriction lines of the
                                       Mortgaged Property and no improvements on adjoining properties encroach upon the
                                       Mortgaged Property (except such encroachments as have been affirmatively insured
                                       over by the title insurer). No improvement located on or being part of the Mortgaged
                                       Property is in violation of any applicable zoning law or regulations.

                                   21. Origination; Payment Terms. The Mortgage Loan has been originated and
                                       processed by Seller or Seller’s correspondent in accordance with, and conforms with,
                                       the terms of this Seller’s Guide and the Loan Purchase Agreement, and the
                                       Mortgage Loan has been underwritten in accordance with Underwriting Guidelines in
                                       effect as of the date of the Delivery Commitment applicable to the Mortgage Loan.
                                       The Mortgage Loan complies with all the requirements of the related Program Profile
                                       applicable to such Mortgage Loan. The related Note is payable on the first day of
                                       each month in self-amortizing equal monthly installments of principal and interest,
                                       with interest calculated and payable in arrears, providing for full amortization or a
                                       balloon payment by maturity, over an original term of not more than thirty (30) years
                                       with the exception of interest-only Mortgage Loans outlined in the applicable product
                                       descriptions for which each interest-only Mortgage Loan is subject to an initial period
                                       of interest-only payments. There is no negative amortization. Further, for each
                                       Adjustable-Rate Mortgage Loan, effective with the first payment due after each
                                       related Interest Rate Change Date, the monthly payment for each Adjustable-Rate
                                       Mortgage Loan will be adjusted to an amount that will amortize fully the unpaid
                                       principal balance of the Mortgage Loan over its remaining term and pay interest at
                                       the interest rate so adjusted, with the exception of interest-only Adjustable-Rate
                                       Mortgage Loans outlined in the applicable product descriptions for which each
                                       interest-only Mortgage Loan is subject to an initial period of interest-only payments.

                                   22. Customary Provisions. The Mortgage contains customary and enforceable
                                       provisions such as to render the rights and remedies of the holder thereof adequate
                                       for the realization against the Mortgaged Property of the benefits of the security
                                       provided thereby, including (i) in the case of Mortgage designated as a deed of trust,
                                       by trustee’s sale; and (ii) otherwise, by non-judicial foreclosure, if applicable, and if
                                       not, by judicial foreclosure. To the extent permissible under applicable law, any
                                       homestead or other exemption available to a Mortgagor, which exemption would
                                       interfere with the right to sell the Mortgaged Property at a trustee’s sale or with the
                                       right to foreclose the Mortgage, has been waived by the Mortgagor or any other
                                       necessary party. Upon default by Mortgagor on a Mortgage Loan and foreclosure




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                                         on, or trustee’s sale of the Mortgaged Property pursuant to the proper procedures,
                                         the holder of the Mortgage Loan will be able to deliver good and merchantable title to
                                         the Mortgaged Property.

                                   23. Documents. The Mortgage Loan has been originated using the forms and loan
                                       documents expressly permitted or approved by Purchaser.

                                   24. Occupancy Certifications. The Mortgaged Property is lawfully occupied under
                                       applicable law, unless properly disclosed to Purchaser. All inspections, licenses and
                                       certificates required to be made or issued with respect to all occupied portions of the
                                       Mortgaged Property, or with respect to the use and occupancy of the same
                                       (including, without limitation, certificates of occupancy and fire underwriting
                                       certificates), have been made or obtained by Seller or Seller’s correspondent from
                                       the appropriate authorities. The Mortgagor represented at the time of origination of
                                       the Mortgage Loan that the Mortgagor would occupy the Mortgaged Property as the
                                       Mortgagor’s primary residence, if applicable.

                                   25. No Additional Collateral. The Note is not and has not been secured by any
                                       collateral except the lien of the corresponding Mortgage and the security interest of
                                       any applicable security agreement or chattel mortgage, the existence of which has
                                       previously been disclosed to, and approved by, Purchaser in writing.

                                   26. Deeds of Trust. In the event the Mortgage constitutes a deed of trust, a trustee,
                                       duly qualified under applicable law to serve as such, has been properly designated
                                       and currently so serves and is named in the Mortgage, and no fees or expenses are
                                       or will become payable by Purchaser to the trustee under the deed of trust, except in
                                       connection with a trustee’s sale after default by the Mortgagor.

                                   27. Acceptable Investment. Seller represents that there is no circumstance or
                                       condition with respect to the Mortgage, the Mortgaged Property, the Mortgagor, or
                                       the Mortgagor’s credit standing, that can reasonably be expected to cause private
                                       institutional investors to regard the Mortgage Loan as an unacceptable investment,
                                       cause the Mortgage Loan to become delinquent, or adversely affect the value or
                                       marketability of the Mortgage Loan.

                                   28. Condominium Units.         As to each condominium unit located in a Condominium
                                       Project:

                                         a. The Condominium Project has been created and is existing in full compliance
                                            with the requirements of the condominium enabling statute of the jurisdiction in
                                            which the Condominium Project is located, and with other applicable laws;
                                         b. The condominium constituent documents contain customary and enforceable
                                            provision protecting the right of the mortgagee of each unit, as specified in the
                                            Seller’s Guide;
                                         c. Not more than six months of regular common expense assessments for the
                                            Condominium Unit (and no other condominium assessments) will have priority
                                            over the lien of the Mortgage; all taxes, assessments and charges that may
                                            become liens prior to the Mortgage under local law relate only to the individual
                                            Condominium Unit and not to the Condominium Project as a whole; the




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                                            Condominium Unit is not located in a jurisdiction that allows for more than six
                                            months of regular common expense assessments to have priority over the
                                            Mortgage;
                                         d. Any mortgagee who obtains title to a Condominium Unit pursuant to the
                                            remedies provided in the Mortgage or by foreclosure of the Mortgage will not be
                                            liable for any fees or charges related to the collection of unpaid assessments that
                                            accrued prior to the acquisition of title to the Condominium Unit by the
                                            mortgagee;
                                         e. The requisite percentage of the units in the Condominium Project specified in the
                                            Underwriting Guidelines have been sold and conveyed to bona fide purchasers
                                            who have Closed or who are legally obligated to Close; multiple purchases of
                                            Condominium Units by one owner were counted as one sale when counting the
                                            number of sales within a Condominium Project to determine if this sale
                                            requirement has been met; and
                                         f. Condominium dues or charges include an adequate reserve fund for
                                            maintenance, repairs or replacement of those common elements that must be
                                            replaced on a periodic basis, and are payable in regular installments rather than
                                            by special assessments.

                                   29. Transfer of Mortgage Loans. The Assignment of Mortgage from Seller to
                                       Purchaser (or Purchaser’s designee) is in recordable form and is acceptable for
                                       recording or filing under the laws of the jurisdiction in which the Mortgaged Property
                                       is located.

                                   30. Due-on-Sale. Unless otherwise provided for in the Seller’s Guide, the Mortgage
                                       Loan contains an enforceable provision for the acceleration of the payment of the
                                       unpaid principal balance of the Mortgage Loan in the event that the Mortgaged
                                       Property is sold or transferred without the prior written consent of the Mortgagee
                                       thereunder.

                                   31. No Graduated Payments or Contingent Interest. Unless otherwise provided for in
                                       the Seller’s Guide, the Mortgage Loan is not a graduated payment mortgage loan;
                                       and the Mortgage Loan does not have a shared appreciation or other feature
                                       providing for contingent interest or contingent principal.

                                   32. Mortgaged Property Undamaged; No Condemnation. The Mortgaged Property is
                                       undamaged by waste, fire, earthquake or earth movement, windstorm, flood,
                                       tornado, or other casualty so as to affect adversely the value of the Mortgaged
                                       Property as security for the Mortgage Loan or the use for which the premises were
                                       intended. The Mortgaged Property is in good repair. There are no condemnation
                                       proceedings by any federal, state or local authority pending or, to Seller’s knowledge,
                                       threatened against the Mortgaged Property.

                                   33. Servicing Practices; Escrow Deposits. The origination and collection practices
                                       used with respect to the Mortgage Loan have been in accordance with Accepted
                                       Servicing Practices, and have been in all respects legal and proper. Unless
                                       otherwise prohibited by applicable law or as otherwise set forth within this Seller’s
                                       Guide, the mortgage documents permit the establishment and maintenance of an
                                       escrow account, an escrow account has been established in an amount sufficient to




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                                         pay for all taxes, governmental assessments, insurance premiums, leasehold
                                         payments, ground rents and other similar items as the same become due and
                                         payable, and all Escrow Payments have been collected in full compliance with state
                                         and federal law. With respect to escrow deposits and Escrow Payments, all such
                                         payments are in the possession of Seller and there exists no deficiency in connection
                                         therewith for which customary arrangements for repayment thereof have not been
                                         made. No escrow deposits or Escrow Payments or other charges or payments due
                                         Seller have been capitalized under the Mortgage or the Mortgage Note. All Mortgage
                                         Loans delivered for purchase shall contain the HUD required Initial Escrow Account
                                         Disclosure Statement. Any interest required to be paid pursuant to state and local
                                         law has been properly paid and credited. All interest rate adjustments have been
                                         made in compliance with state and federal law.

                                   34. No Other Hazards. No hazardous or toxic materials or wastes, or products
                                       regulated by any law or ordinance, or asbestos or asbestos products or materials, or
                                       polychlorinated biphenyls or urea formaldehyde insulation material (collectively,
                                       “hazardous material”), is present on, in, at or under any Mortgaged Property such
                                       that: (a) the value of such Mortgaged Property is materially and adversely affected, or
                                       (b) under applicable federal, state or local law: (i) such hazardous material would be
                                       required to be eliminated before such property could be altered, renovated,
                                       demolished or transferred or, (ii) the presence of such hazardous material would
                                       subject the owner of such property, or the holder of a security interest therein, to
                                       liability for the cost of eliminating such hazardous material or the hazard created
                                       thereby. There is no pending action or proceeding directly involving any Mortgaged
                                       Property of which the Seller is aware in which compliance with any environmental
                                       law, rule or regulation is an issue; and to the best of the Seller’s knowledge, nothing
                                       further remains to be done to satisfy in full all requirements of each such law, rule or
                                       regulation containing a prerequisite to the use and enjoyment of said property.

                                   35. Supervision of Originator of Mortgage Loan. The Mortgage Loan was originated
                                       by a savings and loan association, savings bank, commercial bank, credit union,
                                       insurance company or similar institution which is supervised and examined by a
                                       Federal or State authority, or by a Mortgagee approved by the Secretary of Housing
                                       and Urban Development pursuant to Sections 203 and 211 of the National Housing
                                       Act.

                                   36. Real Estate Valuations. Notwithstanding anything contained elsewhere in this
                                       Seller’s Guide or the Loan Purchase Agreement, Seller hereby represents and
                                       warrants that all appraisals and other forms of real estate valuation conducted in
                                       connection with each Mortgage Loan comply with applicable federal and state law,
                                       including without limitation, the Financial Institutions Reform, Recovery and
                                       Enforcement Act of 1989 as applicable, and the requirements of Fannie Mae or
                                       Freddie Mac and the Seller’s Guide and were conducted and delivered prior to
                                       approval of the Mortgage Loan application by either (i) in the case of an appraisal, by
                                       a qualified appraiser, duly appointed by the Seller, or (ii) a valuation method meeting
                                       the requirements of the Seller’s Guide. The fair market value of the Mortgaged
                                       Property as indicated by the property appraisal or valuation is materially accurate.
                                       Any appraiser, inspector or other real estate professional engaged in the valuation of
                                       the Mortgaged Property has no interest, direct or indirect, in the Mortgaged Property




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                                         or in any loan made on the security thereof. The compensation of any appraiser,
                                         inspector or other real estate professional engaged in the valuation of the Mortgaged
                                         Property was not affected by the approval or disapproval of the Mortgage Loan.

                                   37. Bankruptcy or Insolvency. To the best of Seller’s knowledge (or Seller’s
                                       correspondent’s knowledge, if applicable) Mortgagor is not a debtor in any state or
                                       federal bankruptcy proceeding.

                                   38. Delivery of Mortgage Documents. The Mortgage Note, the Mortgage, the
                                       Assignment of Mortgage and any other documents required to be delivered for the
                                       Mortgage Loan by the Seller under this Seller’s Guide have been or shall be
                                       delivered to Purchaser in accordance with the terms set forth in this Seller’s Guide.
                                       The Seller is in possession of a complete, true and accurate Mortgage Loan file,
                                       except for such documents the originals of which have been delivered to Purchaser.

                                   39. Consolidation of Future Advances. Any future advances made prior to the
                                       Purchase Date have been consolidated with the outstanding principal amount
                                       secured by the Mortgage, and the secured principal amount, as consolidated, bears
                                       a single interest rate and single repayment term. The lien of the Mortgage securing
                                       the consolidated principal amount is expressly insured as having the appropriate lien
                                       priority by a title insurance policy, an endorsement to the policy insuring the
                                       mortgagee’s consolidated interest or by other title evidence acceptable to FNMA and
                                       FHLMC. The consolidated principal amount does not exceed the original principal
                                       amount of the Mortgage Loan.

                                   40. No Construction Loans. No Mortgage Loan was made in connection with the
                                       construction or rehabilitation of a Mortgaged Property.

                                   41. No Denial of Insurance. No action, inaction or event has occurred and no state of
                                       facts exists or has existed that has resulted or will result in the exclusion from, denial
                                       of or defense to coverage under any applicable pool insurance policy, special hazard
                                       insurance policy, PMI Policy or bankruptcy bond, irrespective of the cause of such
                                       failure of coverage. In connection with the placement of any such insurance, no
                                       commission, fee or other compensation has been or will be received by the Seller or
                                       any designee of the Seller or any corporation in which the Seller or any officer,
                                       director or employee had a financial interest at the time of placement of such
                                       insurance.

                                   42. Mortgagor Acknowledgment. The Mortgagor has executed a statement to the
                                       effect that the Mortgagor has received all disclosure materials required by applicable
                                       law with respect to the making of adjustable rate mortgage loans. The Seller shall
                                       maintain such statement in the Mortgage Loan File.

                                   43. Regarding the Mortgagor. The Mortgagor is one or more natural persons and/or
                                       trustees for an Illinois land trust or a trustee under a “living trust” and such “living
                                       trust” is in compliance with the guidelines for such trusts as outlined in the Seller’s
                                       Guide.




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                                   44. Soldiers’ and Sailors’ Relief Act. The Mortgagor has not notified the Seller and the
                                       Seller has no knowledge of any relief requested or allowed to the Mortgagor under
                                       the Soldiers’ and Sailors’ Civil Act of 1940.

                                   45. Prepayment Charges. If the Mortgage Loan provides for any prepayment penalty or
                                       charge (a "Prepayment Charge") to be paid by the Mortgagor in connection with any
                                       prepayment, such Prepayment Charge is enforceable and is in compliance with all
                                       applicable laws, rules and regulations. If the Mortgage Loan provides for a
                                       Prepayment Charge, Seller warrants that only one Prepayment Charge has
                                       been contracted for between Seller and Mortgagor, the Prepayment Charge has
                                       been fully disclosed to Mortgagor and to Purchaser, and the Prepayment
                                       Charge complies with all requirements of the related Program Profile
                                       applicable to the Mortgage Loan. Any Prepayment Charge contracted for
                                       between Seller and Mortgagor that is not fully disclosed to Purchaser shall not
                                       be enforced by Seller, and Seller will be liable to Purchaser for any damages
                                       incurred by Purchaser as a result of Seller’s failure to disclose the existence of
                                       any prepayment provision, rider or addendum and/or the unenforceability of
                                       any Prepayment Charge related to the Mortgage Loan.

                                   46. Cooperative Loan. As to each Cooperative Loan:

                                         a. Each Security Instrument is a valid, enforceable, and subsisting first security
                                            interest in the stock in the residential housing corporation and the Proprietary
                                            Lease that were pledged to secure the Cooperative Loan related thereto, and the
                                            related Cooperative Loan Property is free and clear of all encumbrances and
                                            liens having priority over the lien of the Security Instrument except for the lien of
                                            the residential housing corporation for amounts, if any, due under the Proprietary
                                            Lease. The cooperative housing corporation which is the owner of the Co-op
                                            Premises owns a good, marketable and insurable title to such premises free and
                                            clear of all liens or encumbrances not otherwise approved by Purchaser.
                                         b. All cooperative maintenance fees affecting the Cooperative Loan Property which
                                            are due and owing have been paid.
                                         c. Seller and the cooperative housing corporation have entered into a recognition
                                            agreement in a form satisfactory to Purchaser, which such agreement sets forth
                                            the specific rights of Seller and its successors (including Purchaser) and any
                                            successor servicer and the responsibilities of the cooperative housing
                                            corporation to Seller and its successors (including Purchaser) and any successor
                                            servicer.
                                         d. The stock that is pledged as security for the Cooperative Loan is held by a
                                            Person as a tenant-stockholder (as that term is defined in Section 216 of the
                                            Internal Revenue Code) in a cooperative housing corporation (as that term is
                                            defined by Section 216 of the Internal Revenue Code).
                                         e. No Borrower is in default under the related Proprietary Lease. Seller has not
                                            received any notice to cure maintenance defaults.
                                         f. Each Co-op Premises related to a Cooperative Loan Property is located in a
                                            cooperative project that is acceptable to Purchaser. Each Cooperative Loan
                                            meets all of the eligibility requirements set forth in the Seller’s Guide (including,
                                            without limitation, the Cooperative Loan Program Profile) for Cooperative Loans
                                            and Seller has or will promptly deliver to Purchaser each of the Cooperative Loan




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                                               documents set forth in the Seller’s Guide (including, without limitation, the
                                               Cooperative Loan Program Profile) for Cooperative Loans.

                                   47. Section 32 Mortgage Loans; Predatory Lending Laws. The Mortgage Loan is not
                                       a Section 32 Mortgage Loan nor is it a “high cost,” “threshold,” “covered” or
                                       “predatory” loan under any other applicable state, federal or local law; none of the
                                       proceeds of the Mortgage Loan were used to finance single-premium credit life
                                       insurance policies.

                                   48. High Cost Loan. Mortgaged Loan is not a High Cost Loan as defined by the
                                       appropriate Program Profile.

704        EVENTS OF DEFAULT
                                   Each of the following shall constitute an Event of Default on the part of Seller under this
                                   Seller’s Guide and under the Loan Purchase Agreement:

                                   1. Any breach of any of the representations, warranties or covenants set forth in this
                                      Seller’s Guide or the Loan Purchase Agreement, including, without limitation, the
                                      Eligibility Standards and the provisions of Section 7 hereof; or the failure of Seller to
                                      perform any of its obligations under this Seller’s Guide or the Loan Purchase
                                      Agreement; or

                                   2. The occurrence of an act of insolvency or bankruptcy concerning Seller, including,
                                      without limitation: (i) a decree or order of a court or agency or supervisory authority
                                      having jurisdiction for the appointment of a conservator or receiver or liquidator in
                                      any insolvency, readjustment of debt, marshaling of assets and liabilities, or similar
                                      proceedings, or for the winding-up or liquidation of its affairs, shall have been entered
                                      against Seller; or (ii) Seller shall consent to the appointment of a conservator or
                                      receiver or liquidator in any insolvency, readjustment of debt, marshaling of assets
                                      and liabilities, or similar proceedings of or relating to Seller, or of or relating to all or
                                      substantially all of its property or (iii) Seller shall admit in writing its inability to pay its
                                      debts generally as they become due, or Seller files a petition to take advantage of
                                      any applicable insolvency or reorganization statue, makes an assignment for the
                                      benefit of its creditors, or voluntarily suspends payment of its obligations; or

                                   3. Seller fails to meet any capital, leverage or other financial standard imposed by any
                                      laws or applicable regulatory authority, or in Purchaser’s sole discretion, any material
                                      adverse change occurs in the financial condition of the Seller, or Seller fails to meet
                                      any net worth or ownership requirements as may be set forth in this Seller’s Guide;
                                      or

                                   4. Any Guarantor of Seller’s obligations defaults under the terms of the Guaranty
                                      Agreement (including, without limitation, any default by Guarantor in maintaining any
                                      minimum Tangible Net Worth required under, and as defined in, such Guaranty
                                      Agreement), or becomes insolvent or bankruptcy, or a material adverse change
                                      occurs in the financial condition of such Guarantor; or Guarantor fails to meet any
                                      capital, leverage or other financial standard imposed by any applicable regulatory
                                      authority; or




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                                   5. Seller defaults under the terms of any other agreement to which Seller and
                                      Purchaser are parties.

705        RIGHT TO DEMAND REASONABLE ASSURANCES
                                   If, at any time during the term of the Loan Purchase Agreement, Purchaser has reason to
                                   believe that Seller is not conducting its business in accordance with: (i) all applicable
                                   statutes, regulations, rules and notices of federal, state or local government agencies or
                                   instrumentalities; or (ii) all applicable requirements of Purchaser, as set forth in this
                                   Seller’s Guide or the Loan Purchase Agreement, then, in either case, Purchaser shall
                                   have the right to demand, pursuant to written notice from Purchaser to Seller, reasonable
                                   assurances from Seller that such a belief is in fact unfounded, and any failure of Seller to
                                   provide such reasonable assurances within a time frame specified in such written notices
                                   shall itself constitute an Event of Default hereunder; provided, however, that,
                                   notwithstanding anything set forth in this Seller’s Guide or the Loan Purchase Agreement
                                   to the contrary, and so long as no other Event of Default hereunder has occurred and is
                                   continuing, Purchaser shall only be entitled to exercise such remedies hereunder (with
                                   respect to an Event of Default under this Section) as may be necessary or appropriate for
                                   Purchaser to insulate itself from any potential harm or loss relating to or caused by the
                                   facts or circumstances giving rise to such Event of Default. Nothing in this Section 7
                                   shall be deemed or construed to limit, waive or impair any of Purchaser’s rights or
                                   remedies with respect to any Event of Default under any other Section of this Seller’s
                                   Guide.

706        ADDITIONAL REMEDIES; SETOFF
                                   Upon the occurrence of any Event of Default, without affecting any repurchase obligation
                                   of Seller, and in addition to whatever rights Purchaser may have under the Seller’s
                                   Guide, Loan Purchase Agreement or at law to damages or in equity, including, without
                                   limitation, injunctive relief and specific performance, Purchaser, by notice in writing to
                                   Seller, may immediately suspend all Registrations and Commitments and refuse to fund
                                   any or all Mortgage Loans, pending the cure, to Purchaser’s satisfaction if such Event of
                                   Default is, in Purchaser’s judgment, susceptible to cure within thirty (30) calendar days
                                   after the date of such notice of an Event of Default; if any such Event of Default is not
                                   cured to Purchaser’s satisfaction within such thirty (30) day period, Purchaser may, by
                                   written notice to Seller, immediately terminate any and all duties and obligations of
                                   Purchaser under the Loan Purchase Agreement and this Seller’s Guide. Notwithstanding
                                   the foregoing, upon the occurrence of an Event of Default of the type set forth in Section
                                   704(2) or 704(3), any and all duties and obligations of Purchaser under the Loan
                                   Purchase Agreement and this Seller’s Guide shall immediately and automatically
                                   terminate without notice to Seller or any opportunity to cure such defaults.

                                   Upon the failure by Seller to perform any of its obligations under this Seller’s Guide or the
                                   Loan Purchase Agreement, including without limitation the failure to pay any and all
                                   monies due Purchaser, in addition to all rights Purchaser may have under this Seller’s
                                   Guide, the Loan Purchase Agreement or at law or in equity, Purchaser shall have the
                                   right to deduct any amount due to Purchaser from any amount due to Seller, whether
                                   under Section 601 or otherwise.




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707        WAIVER OF DEFAULTS
                                   Purchaser may waive any default by Seller in the performance of Seller’s obligations
                                   hereunder and its consequences, but only by a written waiver specifying the nature and
                                   terms of such waiver. No such waiver shall extend to any subsequent or other default or
                                   impair any right consequent thereto, nor shall any delay by Purchaser in exercising or
                                   failure to exercise any right arising from such default affect or impair Purchaser’s rights
                                   as to such default or any subsequent default.

708        TERMINATION WITHOUT CAUSE
                                   In addition to the provisions set forth elsewhere herein or in the Loan Purchase
                                   Agreement for termination of this Seller’s Guide and the Loan Purchase Agreement, this
                                   Seller’s Guide and the Loan Purchase Agreement may be terminated without cause at
                                   any time by either party upon prior written notice of termination to the other party. The
                                   effective date of termination must be specified in such notice and must be at least thirty
                                   (30) days after the date such written notice is sent.

709        EFFECT OF TERMINATION
                                   Any termination of the Loan Purchase Agreement shall not affect Seller’s obligations with
                                   respect to Mortgage Loans previously sold or delivered to Purchaser prior to the effective
                                   date of such termination. Provided that termination is without cause, as provided in the
                                   immediately preceding section and provided that no Event of Default on the part of Seller
                                   has occurred, termination of the Loan Purchase Agreement by Purchaser shall not apply
                                   to any Mortgage Loans that have been Registered with Purchaser by Seller before the
                                   effective date of such termination notice. If Purchaser terminates the Loan Purchase
                                   Agreement due to an Event of Default, Purchaser may refuse to Register or Fund any of
                                   all Mortgage Loans after the effective date of termination.

710        REPURCHASE OBLIGATION
                                   In the event of a breach of any of the representations, warranties or covenants contained
                                   in Section 700 through 710 herein, which breach materially and adversely affects the
                                   value of the Mortgage Loans or the interest of Purchaser, or materially and adversely
                                   affects the interest of Purchaser in the related Mortgage Loan, and unless Purchaser
                                   determines that such breach has been cured, or if a loan becomes an Early Payment
                                   Default in accordance with Section 715 herein, Seller shall, at Purchaser’s option,
                                   repurchase the related Mortgage Loan (in the case of a breach of the representations,
                                   warranties or covenants contained in Section 703 hereof or an Early Payment Default), or
                                   all Mortgage Loans (in the case of a breach of any of the representations, warranties or
                                   covenants contained in Section 702 hereof), at the Repurchase Price. Any such
                                   repurchase shall occur no later than thirty (30) days after the earlier of the date on which
                                   Purchaser notifies Seller of such breach or the date on which Seller knows of such
                                   breach. Seller must notify Purchaser immediately upon Seller’s knowledge of any breach
                                   of any representation, warranty or covenant.

                                   Seller agrees to pay any and all documentary stamp taxes, recording fees, transfer taxes
                                   and all other expenses payable in connection with any such repurchase, including,
                                   without limitation, Purchaser’s reasonable attorney’s fees.




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                                   Any such repurchase shall be accomplished by wire transfer from Seller to Purchaser of
                                   immediately available funds. Upon receipt by Purchaser of the Repurchase Price,
                                   Purchaser shall release to Seller the related Mortgage Loan Files and shall execute and
                                   deliver to Seller such instruments of transfer or assignment, in each case without
                                   recourse, as shall be necessary to vest in Seller, or its designee, title to such
                                   repurchased Mortgage Loans.         Seller shall assume the cost of recordation of
                                   assignments and other costs of transfer of any repurchased Mortgage Loans.

                                   Notwithstanding any other provision of the Seller’s Guide or Loan Purchase Agreement
                                   to the contrary, with respect to each Mortgage Loan that is the subject of any breach of
                                   one or more representations, warranties or covenants specified in Section 702 or 703
                                   hereof, if Purchaser (or Purchaser’s agent or affiliate, or any subsequent owner of the
                                   Mortgage Loan or such owner’s agent or affiliate) has acquired title to the related
                                   Mortgaged Property through foreclosure, deed-in-lieu of foreclosure, abandonment or
                                   reclamation from bankruptcy of the defaulted Mortgage Loan, then, within thirty (30) days
                                   after Purchaser’s demand therefor, Seller shall, at Purchaser’s option: (i) purchase the
                                   Mortgaged Property from Purchaser at a purchase price equal to the Repurchase Price;
                                   or (ii) if Purchaser has sold or otherwise disposed of the Mortgaged Property, indemnify
                                   Purchaser as specified in Section 711 hereof. If Purchaser determines, for any reason,
                                   not to acquire title to the Mortgaged Property relating to the defaulted Mortgage Loan,
                                   Seller will nonetheless remain responsible to indemnify Purchaser, pursuant to Section
                                   711 hereof, with respect to any breach of Section 702 or 703 hereof.

                                   All of Purchaser’s remedies hereunder, including, without limitation, the repurchase
                                   obligation with respect to the Mortgage Loan, the purchase obligation with respect to the
                                   Mortgaged Property, and the indemnification with respect to any breach of a
                                   representation, warranty or covenant (or any other Event of Default), shall exist
                                   regardless of (i) the dates of Purchaser’s discovery and notice to Seller of the breach and
                                   Purchaser’s demand for any remedy and (ii) any limitation or qualification of a
                                   representation or warranty as being made “to Seller’s knowledge” or “to the best of
                                   Seller’s knowledge” or any similar qualification relating to the knowledge of Seller.
                                   Notwithstanding any other provision of the Seller’s Guide or Loan Purchase Agreement
                                   to the contrary, Seller shall remain liable for all remedies hereunder, even if Purchaser
                                   discovers a breach after the Mortgage Loan is liquidated in foreclosure.

711        INDEMNIFICATION AND THIRD PARTY CLAIMS
                                   In addition to any repurchase and cure obligations of Seller, and any and all other
                                   remedies available to Purchaser under this Seller’s Guide and the Loan Purchase
                                   Agreement, Seller shall indemnify Purchaser and Purchaser’s designee (including,
                                   without limitation, any subsequent holder of any Note) from and hold them harmless
                                   against all claims, losses, damages, penalties, fines, claims, forfeitures, lawsuits, court
                                   costs, reasonable attorney’s fees, judgments and any other costs, fees and expenses
                                   that the Purchaser may sustain in any way related to or resulting from any act or failure to
                                   act or any breach of any warranty, obligation, representation or covenant contained in or
                                   made pursuant to this Seller’s Guide or the Loan Purchase Agreement by any agent,
                                   employee, representative or officer of Seller or Seller’s correspondent. In addition to any
                                   and all other obligations of Seller hereunder, Seller agrees that it shall pay the
                                   reasonable attorney’s fees of Purchaser incurred in enforcing Seller’s obligations
                                   hereunder, including, without limitation, the repurchase obligation set forth above. It is




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                                   understood and agreed that any subsequent holder of any Note acquired hereunder by
                                   Purchaser shall be a third party beneficiary of the Loan Purchase Agreement and this
                                   Seller’s Guide. The indemnification obligations of Seller hereunder shall survive the
                                   termination of this Seller’s Guide and the related Loan Purchase Agreement.

                                   The Seller immediately shall notify the Purchaser if a claim is made by a third party with
                                   respect to this Seller’s Guide, the Loan Purchase Agreement or the Mortgage Loans,
                                   assume (with the prior written consent of the Purchaser) the defense of any such claim
                                   and pay all expenses in connection therewith, including counsel fees, and promptly pay,
                                   discharge and satisfy any judgment or decree which may be entered against it or the
                                   Purchaser in respect of such claim. The Purchaser promptly shall reimburse the Seller
                                   for all amounts advanced by it pursuant to the preceding sentence except when the claim
                                   is in any way related to the Seller’s indemnification with respect to a breach by the Seller
                                   of any representation or warranty, or the failure of the Seller with respect to any of the
                                   Seller’s obligations under this Seller’s Guide or the Loan Purchase Agreement.

712        SURVIVAL OF REMEDIES
                                   It is understood and agreed that Purchaser’s remedies for breach of the representations,
                                   warranties or covenants set forth herein and/or in the Loan Purchase Agreement shall
                                   survive the sale and delivery of the related Mortgage Loan to Purchaser and Funding of
                                   the related Purchase Price by Purchaser, and will continue in full force and effect,
                                   notwithstanding any termination of this Seller’s Guide and the related Loan Purchase
                                   Agreement, or any restrictive or qualified endorsement on any Note or Assignment of
                                   Mortgage or loan approval or other examination of or failure to examine any related
                                   Mortgage Loan File by Purchaser.

713        MISCELLANEOUS
           713.1                   GOVERNING LAW
                                   The Loan Purchase Agreement shall be construed in accordance with the substantive
                                   law of the State of New York and the obligations, rights and remedies of the parties
                                   hereunder shall be determined in accordance with such law without regard for the
                                   principles of conflict of laws.

           713.2                   SEVERABILITY OF PROVISIONS
                                   If any one or more of the covenants, agreements, provisions or terms of the Loan
                                   Purchase Agreement or this Seller’s Guide shall be held invalid for any reason
                                   whatsoever, then any such covenants, agreements, provisions or terms shall be deemed
                                   severable from the remaining covenants, agreements, provisions and terms of the Loan
                                   Purchase Agreement or this Seller’s Guide and shall in no way affect the validity or
                                   enforceability of the other provisions of the Loan Purchase Agreement of this Seller’s
                                   Guide.

           713.3                   ASSIGNMENT
                                   Purchaser shall have the right to assign its rights and duties under the Loan Purchase
                                   Agreement and this Seller’s Guide to any party without the consent of Seller. Purchaser
                                   shall notify Seller in writing of any such assignment. Seller shall have no right to assign
                                   its rights or duties under the Loan Purchase Agreement or this Seller’s Guide without




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                                   Purchaser’s prior written consent. Purchaser also may assign separately to any other
                                   party any or all representations, warranties or covenants made by Seller to Purchaser in
                                   the Seller’s Guide or Loan Purchase Agreement, along with any or all of Purchaser’s
                                   remedies available against the Seller for Seller’s breach of any representation, warranty
                                   or covenant hereunder, including, without limitation, the repurchase and indemnification
                                   remedies. Any such party shall be an intended third party beneficiary of those
                                   representations, warranties, covenants and remedies.

           713.4                   GOVERNING CONTRACT
                                   In the case of any inconsistency between this Seller’s Guide and the Loan Purchase
                                   Agreement, the terms of the Loan Purchase Agreement shall control. In the event of any
                                   conflict between the substantive provisions of the Underwriting Guidelines and the other
                                   substantive provisions of this Seller’s Guide, such other provisions of the Seller’s Guide
                                   shall control.

           713.5                   ENTIRE AGREEMENT; NO WAIVER
                                   This Seller’s Guide, the Loan Purchase Agreement, and/or the exhibits hereto and
                                   thereto contain the final and entire agreement between Purchaser and Seller with respect
                                   to the purchase and sale of the Mortgage Loans, and are intended to be an integration of
                                   all prior negotiations and understandings. No waiver of any of the provisions of this
                                   Seller’s Guide or Loan Purchase Agreement shall be valid unless the same is in writing
                                   and is signed by the party against which such waiver is sought to be enforced. Delay by
                                   Purchaser in exercising any right or remedy under this Seller’s Guide, under the Loan
                                   Purchase Agreement, or otherwise provided by law shall not operate as a waiver or
                                   preclude the later exercise of that right or remedy.

           713.6                   NO PARTNERSHIP
                                   Nothing herein contained shall be deemed or construed to create a partnership or joint
                                   venture between the parties hereto. At no time shall Seller represent that it is acting as
                                   an agent for or on behalf of Purchaser. At all times Seller shall act as an independent
                                   contractor.

           713.7                   CONFIDENTIALITY
                                   As a result of its relationship with Purchaser and access to the Loan Purchase
                                   Agreement, Seller will learn or have access to various trade secrets, confidential and
                                   proprietary methods, techniques, processes, applications, approaches and other
                                   information in various forms, which such information is used or useful in the conduct of
                                   Purchaser’s business, including its origination, purchase, sale and servicing of mortgage
                                   products, collectively referred to as “Confidential Information”. Seller acknowledges that
                                   such Confidential Information is the exclusive property of Purchaser. Seller shall not, at
                                   any time, regardless of if, when and how its relationship with Purchaser may terminate,
                                   directly or indirectly use, disclose, publish, reveal, copy, disseminate or otherwise make
                                   available such Confidential Information, other than as expressly set forth herein or in the
                                   Loan Purchase Agreement.

           713.8                   NON-EXCLUSIVE RELATIONSHIP
                                   Notwithstanding anything set forth herein or elsewhere to the contrary, Seller
                                   acknowledges, understand and agrees that its relationship with Purchaser is on a non-




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                                   exclusive basis and that Purchaser may, in its discretion, at any time or from time to time,
                                   and without any liability or obligation to Seller: (i) contract with, designate, authorize,
                                   constitute or appoint one or more entities other than Seller to originate, solicit, process,
                                   underwrite, close, fund, bill, sell and/or invest in loans of any type for funding by or sale
                                   to, or as agent for and on behalf of, Purchaser, all of which activity may occur in all or any
                                   portion of the geographic territory in which Seller originates loans; and/or (ii) either
                                   directly or indirectly compete with Seller, either for Purchaser’s own account or as agent
                                   for and on behalf of another, in the solicitation, processing, underwriting, closing,
                                   funding, billing, selling of and/or investing in loans in such geographic territory.

714        SOLICITATION FOR REFINANCING
                                   During the remaining term of any Mortgage Loan purchased by Purchaser, neither Seller,
                                   nor any affiliate of Seller shall take any action personally, by telephone, mail or
                                   otherwise, to solicit the prepayment of Mortgage Loans, in whole or in part, without the
                                   prior written consent and approval of Purchaser. It is understood and agreed that
                                   promotions undertaken by the Seller or any Affiliate of Seller which are directed to the
                                   general public at large, including mass mailings based on commercially acquired mailing
                                   lists, newspaper, radio and television advertisements, shall not constitute solicitation
                                   under this Section.

715        EARLY PAYMENT DEFAULT
                                   Early Payment Default loans are subject to repurchase by the Seller at the Repurchase
                                   Price in accordance with Section 710 herein.

                                   For Mortgage Loans prior-approved by Purchaser (i.e as to which Purchaser
                                   underwrote the loan prior to Purchase), a mortgage loan has an early payment default
                                   if the first monthly payment due Purchaser is not made within thirty (30) days of its due
                                   date.

                                   For Mortgage Loans delivered pursuant to Seller’s Delegated Underwriting Authority,
                                   a Mortgage Loan has an early payment default if either the first or second monthly
                                   payment due the Purchaser is not made within 30 days of each such monthly payment's
                                   respective due date.

                                   Delegated Underwriting Authority applies to all loans eligible for a delegated
                                   underwriting decision by Seller, whether or not Purchaser elects to underwrite the
                                   loan prior to Purchase.

                                   For Mortgage Loans delivered pursuant to Bulk Transactions, a Mortgage Loan has an
                                   early payment default if either the first or second monthly payment due the Purchaser is
                                   not made within 30 days of each such monthly payment's respective due date.

716        EARLY PAYOFF
                                   If a Mortgage Loan is paid in full within three (3) months of the Purchase Date, Seller will
                                   reimburse Purchaser that portion of the Purchase Price in excess of par multiplied by the
                                   Unpaid Principal Balance as of the Date of the payment in full and net of potential
                                   prepayment charges on loans that contain a valid prepayment penalty provision in effect
                                   during the Early Payoff Period.




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717        DELEGATED UNDERWRITING
                                   Unless otherwise indicated within this Seller’s Guide, Sellers must have written
                                   authorization from Purchaser to utilize Delegated Underwriting Authority. Upon
                                   authorization to utilize delegated authority, Seller represents and warrants as of the
                                   Purchase Date of each Mortgage Loan delivered pursuant to Seller’s Delegated
                                   Underwriting Authority, in addition to the other representations and warranties contained
                                   within this Section 7, the following:

                                   1. All underwriting performed by Seller hereunder shall be in strict compliance with the
                                      underwriting guidelines and product descriptions contained in the Seller's Guide and
                                      such other guidelines and requirements as may be provided to Seller in writing from
                                      time to time.

                                   2. Seller shall not represent to any entity, person or party that it is acting as an agent
                                      for, or on behalf of, Purchaser. Nothing in this Seller’s Guide shall be construed to
                                      create any agency, partnership or joint venture between Seller and Purchaser for any
                                      purpose.

                                   3. Seller agrees to perform all underwriting functions with the same care and diligence
                                      as an experienced, prudent underwriter performing such duties in the industry with
                                      respect to similar mortgage loan products and, in any event, with no less care and
                                      diligence than if it were underwriting Mortgage Loans for its own account.

                                   4. Seller agrees that it shall maintain an experienced, qualified and approved
                                      underwriting staff and shall cause such staff to perform all underwriting functions to
                                      be performed by Seller in compliance with the requirements of the Seller's Guide and
                                      all modifications thereto. Seller shall cause the actual underwriting decisions and
                                      evaluations made during the underwriting process to be done only by employees of
                                      Seller who are qualified to make, and have substantial experience making, such
                                      decisions. All Mortgage Loans delivered to Purchaser pursuant to Purchaser’s
                                      Delegated Underwriting Authority have been underwritten by Seller directly and not
                                      by any third party underwriter, unless such third party underwriter has been
                                      specifically approved in writing by Purchaser.

                                   5. It is Seller's responsibility to insure that (i) Seller and its underwriters at all times
                                      maintain and use complete, up-to-date versions of the Seller's Guide, including all
                                      updates, bulletins, announcements, memorandums, and product descriptions and (ii)
                                      all of its employees performing underwriting duties and functions remain informed
                                      and knowledgeable regarding such guidelines and all requirements of the Seller's
                                      Guide.

                                   6. Seller shall be responsible for approving only marketable Mortgage Loans and shall
                                      document its underwriting of each and every loan in a manner that justifies and
                                      supports such approval and marketability on the secondary mortgage market.

                                   7. Seller must include in each submission all underwriting worksheets and written
                                      comments from the underwriter in regard to the final loan decision in addition to any
                                      forms or documentation required by the Seller's Guide.




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                                   8. Seller further agrees to maintain sufficient quality control guidelines to insure that all
                                      of the above requirements are carried forth. Seller agrees to provide Purchaser full
                                      access to its quality control procedures and to keep Purchaser apprised as to such
                                      procedures and policies.

                                   9. Purchaser shall have the right to perform pre-purchase and post-purchase reviews of
                                      all Mortgage Loans and to request any additional documentation to ensure
                                      compliance with Purchaser’s guidelines. Purchaser reserves the right to refuse
                                      purchase or to require repurchase of Mortgage Loans that do not meet Purchaser’s
                                      guidelines, determined at Purchaser’s sole discretion.

                                   10. Seller's delegated authority may be terminated upon written notice. Termination shall
                                       be effective as to all Mortgage Loans submitted to Purchaser on or after such notice
                                       of termination.

                                   11. Seller represents and warrants that any Mortgage Loan submitted under this
                                       Delegated Underwriting Authority was originated by a savings and loan association,
                                       savings bank, commercial bank, credit union, insurance company, or similar
                                       institution which is supervised and examined by a Federal or State authority, or by a
                                       Mortgagee approved by the Secretary of Housing and Urban Development pursuant
                                       to Sections 203 and 211 of the National Housing Act.

                                   Seller acknowledges that failure of Purchaser to review or discover any deficiency or
                                   error in the Mortgage Loan at time of Purchase by Purchaser will neither release Seller
                                   from its obligations to provide any required documentation or correct any errors, nor will it
                                   prevent or inhibit Purchaser’s exercise of any of its remedies.

718        AUTOMATED UNDERWRITING
                                   All Loans submitted by Seller for Purchase by Purchaser that have been underwritten
                                   through Purchaser approved automated underwriting system shall meet the requirements
                                   specified within the Seller’s Guide. Further, Seller represents and warrants that:

                                   1. Seller is registered with the provider of the automated underwriting system and is a
                                      valid licensee of the automated underwriting system;

                                   2. The Mortgage Loan received a recommendation/disposition from the automated
                                      underwriting system that is acceptable to Purchaser;

                                   3. Any verification messages or approval conditions specified in the findings of the
                                      automated underwriting system were satisfactorily resolved before the Mortgage
                                      Loan is closed;

                                   4. The terms of the closed loan and the underwriting information in the Mortgage File
                                      both match the data on which the automated underwriting system’s
                                      recommendations and findings were based.

                                   Seller shall be deemed to make the following representation and warranty to Purchaser
                                   as of the related Funding Date. All data pertaining to the Mortgage Loan submitted to the
                                   applicable automated underwriting system was true, complete and accurate as of the




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                                                                                                                        Section 7
                                       REPRESENTATIONS, WARRANTIES AND INDEMNIFICATIONS



                                   date when entered and as of the closing date of the Mortgage Loan; verification of all
                                   such data is included in the Mortgage Loan File delivered to Purchaser and such
                                   verification complies with the requirements of the Seller's Guide; Seller has taken all
                                   appropriate action to satisfactorily resolve and comply with any verification
                                   messages/approval conditions produced by the automated underwriting system prior to
                                   closing the Mortgage Loan and documentation of such resolution is provided in the
                                   delivered loan file. This representation and warranty is made in addition to, and not in
                                   lieu of, any or all of the other representations and warranties contained elsewhere in the
                                   Seller’s Guide or Loan Purchase Agreement.

                                   Seller acknowledges that (i) in the event of a discrepancy between the data validated by
                                   Purchaser's review of the file and the data entered in the automated underwriting system
                                   by Seller, the findings of the automated underwriting system shall be considered null and
                                   void and Purchaser shall have no obligation to purchase/fund the loan, and (ii) failure of
                                   Purchaser to review or discover any deficiency or error in the Mortgage Loans(s) at the
                                   time of purchase by Purchaser will neither release Seller from its obligations to provide
                                   any required documentation or correct any errors, nor will it prevent or inhibit Purchaser's
                                   exercise of any of its remedies hereunder, including Mortgage Loan Repurchase in
                                   accordance with Section 710 herein.




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